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16                            UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18
     ENTTECH MEDIA GROUP LLC,                   Case No. 2:20-cv-06298 RGK (Ex)
19
                 Plaintiff,                     Hon. R. Gary Klausner
20
     v.                                         DEFENDANTS’ JOINT
21                                              MEMORANDUM OF POINTS &
     OKULARITY, INC. et al.,                    AUTHORITIES IN SUPPORT OF
22                                              MOTION TO DISMISS
                 Defendants.
23                                              Date:               Sept. 28, 2020
                                                Time:               9:00 a.m.
24                                              Place:              TBD
25                                              Compl. filed:       July 15, 2020
26                                              No Trial Date Set
27

28


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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         After committing numerous acts of infringement and, as a consequence, being
 4   deemed a “repeat infringer” by Instagram and thus having its account suspended,
 5   plaintiff ENTtech Media Group LLC was desperate to get its account restored.
 6   Incensed that the statutory framework set out in the Digital Millennium Copyright
 7   Act (“DCMA”) operated as intended, ENTtech turned its attention to the owners of
 8   the copyrights in the images it infringed—defendants BackGrid USA, Inc., Splash
 9   News and Picture Agency, LLC, and Xposure Photo Agency, Inc. (the “Photo
10   Agencies”)—and their agent, Okularity, Inc. and its CEO Jon Nicolini (together
11   “Okularity”).1 In an attempt to gain leverage, ENTtech manufactured claims out of
12   whole cloth, accusing Defendants of running a “fraudulent scheme” to “extort”
13   settlement payments out of itself, the victim.
14         Except there’s no fraud, no scheme, and no extortion. There is only the
15   straight-forward application of a program created by Congress—the DMCA—
16   working as designed to protect the rights of copyright owners and protect platforms
17   like Instagram from liability for infringements like ENTtech’s. Viewed in that
18   context, this case presents serial wrongdoer ENTtech—which has not once denied
19   that it infringed the Photo Agencies’ copyrights—casting itself as the victim of a
20   racketeering enterprise comprising the owners of the very copyrights it used without
21   authorization (and their agent), which enterprise availed itself of legal process set up
22   to protect those copyrights, thereby “injuring” ENTtech. It is judicial gaslighting and
23   an abuse of process.
24         The claims, such as they are, predictably fail to meet any relevant standard,
25
     1
       Okularity and the Photo Agencies are separately represented. So as not to burden
26   the Court with multiple duplicative arguments, Defendants have prepared this joint
     brief and are filing it in support of their separately filed motions to dismiss. In
27   addition, the Photo Agencies are responding now, even though their deadline to
     respond has not yet arrived and one of the Agencies, BackGrid, has yet to be served
28   with the First Amended Complaint.
                                                  1
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 1   factually or legally. The First Amended Complaint (“FAC”) sounds in fraud, but
 2   ENTtech cannot met the heightened pleading standards of Rule 9(b). On top of that,
 3   the DMCA claim fails because ENTtech has not—and cannot—allege that the
 4   copyrighted images it used without authorization are noninfringing. Without that key
 5   allegation, there has been no “misrepresentation” that “material or activity is
 6   infringing,” as required under the statute. For its part, the RICO claim cannot survive
 7   scrutiny either: Defendants are immune from RICO liability, under the Noerr-
 8   Pennington doctrine, because their activity, even as alleged in the FAC, is protected
 9   by the First Amendment right to petition. And in any event, ENTtech has failed to
10   adequately allege necessary elements of each claim.
11         The FAC is fatally flawed and should be dismissed with prejudice.
12   II.   RELEVANT FACTS
13         A.     DMCA framework
14         Congress adopted the DMCA, 17 U.S.C. § 512, in 1998 in part to address
15   copyright issues with user-generated content, such as videos and pictures posted to
16   internet service providers (“ISPs”) and other website owners. E.g., Shropshire v.
17   Canning, No. 10-cv-1941-LHK, 2011 WL 90136, at *4 (N.D. Cal. Jan. 11, 2011).
18   The statute sets forth a process whereby copyright owners can give ISPs and websites
19   a “notification of claimed infringement”—that is, notice that copyrighted material has
20   been placed on the site “at the direction of a user.” 17 U.S.C. §§ 512(c)(1), (c)(3).
21   Commonly called a “take-down notice,” among other things the notification must
22   identify the infringing and infringed work, contain a “statement that the complaining
23   party has a good faith belief that the use of the material in the manner complained of
24   is not authorized by the copyright owner, its agent, or the law,” and be sworn under
25   penalty of perjury. 17 U.S.C. § 512(c)(3)(A). The ISP or website is immunized from
26   liability if it responds to the take-down notice by acting “expeditiously to remove, or
27   disable access to, the material.” 17 U.S.C. § 512(c)(1)(C). This is commonly referred
28   to as the “safe harbor.”
                                                 2
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 1         But while acting expeditiously is necessary for an ISP or website to avail itself
 2   of the safe harbor, it’s not sufficient. An ISP must also have “adopted and reasonably
 3   implemented, and informs [users of its] system or network of, a policy that provides
 4   for the termination in appropriate circumstances of [users] who are repeat infringers.”
 5   17 U.S.C. § 512(i)(1)(A). Instagram, a social media network where users post photo
 6   and video content, has adopted such a repeat infringer policy.2 Instagram does not
 7   publish details of the policy, such as how it defines “repeat infringer.”
 8         In addition, to avail itself of the safe harbor for the “good faith disabling of
 9   access to, or removal of,” infringing content, the ISP or website must “take[]
10   reasonable steps promptly to notify the subscriber that it has removed or disabled
11   access to the material.” 17 U.S.C. §§ 512(g)(1), (g)(2)(A).
12         Among the protections provided for the users of the ISP or website, the DMCA
13   provides for a legal claim when content is removed as a result of take-down notices
14   that contain misrepresentations. Specifically, “[a]ny person who knowingly
15   materially misrepresents … that material or activity is infringing” is liable for
16   damages that result from the ISP or website “removing or disabling access to the
17   material or activity claimed to be infringing.” 17 U.S.C. § 512(f) (emphasis added).
18         B.     Summary of allegations3
19         ENTtech is a serial infringer. This case alone involves the infringement of 48
20   copyrighted photographs owned by the Photo Agencies.4 (FAC ¶¶ 29, 37.) ENTtech
21   does not deny that it infringed the photos. Rather, this case is about the consequences
22   flowing from those infringements, and whether Defendants, by engaging in lawful
23   2
       See https://help.instagram.com/1586774981367195?helpref=page_content. This
     policy is referenced in the FAC. (FAC ¶¶ 14, 39.)
24   3
       As they must, Defendants accept as true the allegations of the FAC. Separately,
25   Defendants are serving and will later file a Motion for Sanctions under Fed. R. Civ.
     P. 11 because ENTtech and its counsel knew them to be false when filing the FAC.
26   4
       ENTtech has been sued for copyright infringement other times as well. See
     Schwartzwald v. ENTtech Media Group LLC, S.D.N.Y. Case No. 1:19-cv-5505-JPO
27   (filed June 12, 2019); Hirsch v. ENTtech Media Group LLC, S.D.N.Y. Case
     No. 1:19-cv-7031-AT (filed July 27, 2019); Polaris Images Corp. v. ENTtech Media
28   Group LLC, S.D.N.Y. Case No. 1:19-cv-8208-KPF (filed Sept. 3, 2019).
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  1   actions contemplated by the DMCA, have engaged in conduct that amounts to
  2   violations of DMCA § 512(f) or of RICO.
  3         The Photo Agencies are photo agencies that license copyrighted images to
  4   some of the biggest media outlets in the world. (See FAC ¶¶ 25-26.) Okularity is their
  5   agent. (FAC ¶ 24.) Using software, Okularity searches the Internet for unauthorized
  6   uses of the Photo Agencies’ copyrighted images. (FAC ¶ 15.) According to ENTtech,
  7   through this software Okularity generates and submits DMCA notices to social media
  8   platforms, including Instagram, for unauthorized images it finds, and it does so
  9   “without any of the investigation, warning or legal analysis required by the DMCA,”
 10   specifically without any consideration of fair use. (FAC ¶ 15; see FAC ¶¶ 27, 40.)
 11   Because the DMCA take-down notices are allegedly sent automatically, without
 12   analyzing fair use, ENTtech alleges that they contain misrepresentations as to
 13   Okularity’s “good faith belief” that the material is infringing. (FAC ¶ 51.)
 14         Okularity allegedly continues to file DMCA take-down notices until Instagram
 15   disables the account; only then does Okularity allegedly begin negotiating to settle
 16   claims of infringement. (FAC ¶¶ 15-16.) ENTtech claims that the account suspension
 17   provides leverage for maximizing settlement recoveries on behalf of the Photo
 18   Agencies, amounting to extortion. (FAC ¶ 16.) This process—from the sending of
 19   DMCA notices to the negotiating of settlements—constitutes a fraudulent scheme
 20   according to ENTtech. (FAC ¶¶ 12-18.)
 21         C.     Procedural history
 22         ENTtech filed its initial Complaint on July 15, 2020. (ECF 1.) On August 5,
 23   counsel for all Defendants sent a letter to ENTtech’s counsel identifying numerous
 24   deficiencies in the Complaint, including that the DMCA claim and the RICO claim
 25   were legally and factually baseless. (Perkowski Decl. Ex. 1.) The parties’ counsel
 26   telephonically discussed the Complaint’s deficiencies on August 6. (Perkowski Decl.
 27   ¶ 6.) At the time, ENTtech’s counsels’ response to the substance of Defendants’
 28   identified deficiencies amounted to, simply: “We disagree.” (Id.)
                                                 4
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  1          Nevertheless, ENTtech filed the FAC the following week. (ECF 23.) The FAC
  2   dropped two state-law claims that were preempted (and subject to a potential anti-
  3   SLAPP motion), but it doubled down on the DMCA and RICO claims. The FAC did
  4   not cure the deficiencies in the DMCA and RICO claims that Defendants previously
  5   identified: there were no substantive or meaningful changes to the “Allegations
  6   Common to All Causes of Action (FAC¶¶ 12-34), and the DMCA claim was entirely
  7   unchanged (FAC ¶¶ 35-43).
  8          In the RICO claim, ENTtech added an allegation concerning the Photo
  9   Agencies’ participation in the alleged enterprise (FAC ¶ 49), an allegation concerning
 10   the fraudulent nature of the DMCA take-down notices (FAC ¶ 51), an allegation
 11   concerning alleged extortion (FAC ¶ 52), several allegations concerning the Photo
 12   Agencies’ filing of a lawsuit for copyright infringement against ENTtech (FAC
 13   ¶¶ 53-54), and allegations concerning injury (FAC ¶¶ 55).
 14   III.   LEGAL STANDARD
 15          Under the Federal Rules, claims should be dismissed at the outset of litigation
 16   if a plaintiff fails to plausibly allege a cognizable legal theory or sufficient facts to
 17   support its legal theory. See Somers v. Apple, 729 F.3d 953, 959 (9th Cir. 2013);
 18   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Plausibility requires pleading facts, as
 19   opposed to conclusory allegations or the ‘formulaic recitation of the elements of a
 20   case of action.’” Somers, 720 F.3d at 959-60 (quoting Bell Atl. Corp. v. Twombly,
 21   550 U.S. 554, 555 (2007)). In ruling on a motion under Rule 12(b)(6), while the
 22   Court must accept well-pleaded allegations as true and construe them in the light
 23   most favorable to the non-moving party, Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336,
 24   337-38 (9th Cir. 1996), the Court may disregard “[t]hreadbare recitals”—the
 25   unsupported conclusions and unreasonable inferences meant merely to plead required
 26   elements consistent with a defendant’s liability. Iqbal, 556 U.S. at 678; Sprewell v.
 27   Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
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  1         Allegations of fraud, however, must meet the heightened pleading requirement
  2   of Rule 9(b). See Fed. R. Civ. P. 9(b). Rule 9(b) requires that allegations of fraud be
  3   “specific enough to give defendants notice of the particular misconduct which is
  4   alleged to constitute the fraud charged so that they can defend against the charge and
  5   not just deny that they have done anything wrong.” Neubronner v. Milken, 6 F.3d
  6   666, 671 (9th Cir. 1993) (internal quotation marks omitted). This standard requires a
  7   plaintiff to state the time, place, and content of the alleged misrepresentation and,
  8   critically, explain why the statement is false or misleading. See id.; In re GlenFed,
  9   Inc. Sec. Litig., 42 F.3d 1541, 1547-48 (9th Cir. 1994).
 10   IV.   ARGUMENT
 11         The FAC falls well short of these standards as to both claims.
 12         A.     The DMCA and RICO claims fail because they have not pleaded
 13                fraud and fraudulent conduct with particularity.
 14         Each of plaintiff’s claims fail because they are based on averments of fraud the
 15   circumstances of which plaintiff has not pleaded with particularity.
 16         “In alleging fraud or mistake, a party must state with particularity the
 17   circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). Because of the
 18   serious nature of the allegations, even claims without fraud as an element must meet
 19   this standard when the averments on which they are based sound in fraud.
 20                In cases where fraud is not a necessary element of a claim, a
                   plaintiff may choose nonetheless to allege … that the defendant
 21                has engaged in fraudulent conduct. In some cases, the plaintiff
                   may allege a unified course of fraudulent conduct and rely
 22                entirely on that course of conduct as the basis of a claim. In that
                   event, the claim is said to be “grounded in fraud” or to “sound
 23                in fraud,” and the pleading of that claim must satisfy the
                   particularity requirement of Rule 9(b).
 24

 25   Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103-04 (9th Cir. 2003). The failure
 26   here to plead the circumstances of the fraud with particularity infects both claims.
 27         Both of ENTtech’s claims “sound in fraud.” In the first substantive allegation
 28   of the FAC, ENTtech describes an alleged “scheme” that is based on the alleged
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  1   “manipulation” of DMCA take-down notices (FAC ¶ 12) and that is carried out using
  2   “fraudulent” methods (FAC ¶ 18). According to ENTtech, the DMCA notices
  3   themselves contain “fraudulent statements.” (FAC ¶ 18.) This alleged fraudulent
  4   scheme, centered on fraudulent statements made in DMCA notices, forms the basis of
  5   both claims. In short, ENTtech has attempted to allege “a unified course of fraudulent
  6   conduct” and “rel[ies] entirely on that course of conduct as the basis of” both claims.
  7   Vess, 317 at 1103.
  8                1.      The claim for misrepresentation under DMCA § 512(f) has
  9                        not been pleaded with Rule 9 specificity.
 10         The first claim asserts a violation of the DMCA, which provides that “[a]ny
 11   person who knowingly and materially misrepresents … that material or activity is
 12   infringing” is liable to any person “injured by such misrepresentation, as the result of
 13   … relying upon such misrepresentation … .” 17 U.S.C. § 512(f). It is a “well-
 14   established rule of construction that ‘where Congress uses terms that have
 15   accumulated settled meaning under the common law, a court must infer, unless the
 16   statute otherwise dictates, that Congress means to incorporate the established
 17   meaning of these terms.’” Neder v. United States, 527 U.S. 1, 21 (1999) (quoting
 18   Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 730, 739 (1992)). The established
 19   meaning of “misrepresentation,” which appears three times in § 512(f), requires a
 20   Rule 9 pleading standard.
 21         Yet of the DMCA take-down notices here—whether there are 48 (FAC ¶ 29),
 22   or “at least” 48 (FAC ¶ 37), or only 14 (FAC ¶ 50)—none of them is alleged with any
 23   specificity at all. Even though Instagram doubtlessly took “reasonable steps promptly
 24   to notify” ENTtech each time it removed content in response to Okularity’s DMCA
 25   notices, 17 U.S.C. §§ 512(g)(1), (g)(2)(A), ENTtech includes no allegations
 26   connecting each take-down notice, and its content, with any particular Photo Agency
 27   or any specific image (the “who,” “where,” and “how”), and when each was sent (the
 28   “when”). Without these allegations, the claim fails.
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  1          ENTtech likewise fails to plead “particularized allegations of the
  2   circumstances constituting fraud.” GlenFed, 42 F.3d at 1547 (emphasis in original).
  3   Merely identifying a statement is not enough; a statement “must be false to be
  4   fraudulent.” Id. at 1547-48. At most, ENTtech alleges that Defendants “made third-
  5   party § 512(f) misrepresentations to Instagram stating that Plaintiff’s images … were
  6   infringing intellectual property rights owned by” the Photo Agencies. (FAC ¶ 37.)
  7   This alone is a “threadbare recital” of claim elements that the Supreme Court has
  8   instructed should be disregarded. See Iqbal, 556 U.S. at 678. What, exactly, is the
  9   misrepresentation? ENTtech does not allege anywhere that its Instagram posts are
 10   noninfringing, so Defendants’ representation concerning infringement is not false.
 11   Without more, there is nothing in the FAC “specific enough to give defendants notice
 12   of the particular misconduct which is alleged to constitute fraud.” Neubronner, 6 F.3d
 13   at 671 (internal quotation marks omitted).
 14                 2.       The RICO claim has not been pleaded with Rule 9 specificity.
 15          The same analysis applies to the RICO claim. “[I]n RICO cases, Rule 9(b)
 16   requires that fraud be pled with particularity to state a claim for relief.” Blue Oak
 17   Med. Group v. State Comp. Ins. Fund, No. 2:18-cv-03867-RGK-sk, 2018 WL
 18   6219892, at *3 (C.D. Cal. Nov. 7, 2018). This is an exacting standard:
 19                 To allege fraud with particularity, a plaintiff must set forth
                    more than the neutral facts necessary to identify the transaction.
 20                 The plaintiff must set forth what is false or misleading about a
                    statement, and why it is false. In other words, the plaintiff must
 21                 set forth an explanation as to why the statement or omission
                    complained of was false or misleading. A plaintiff might do less
 22                 and still identify the statement complained of; indeed, the
                    plaintiff might do less and still set forth some of the
 23                 circumstances of the fraud. But the plaintiff cannot do anything
                    less and still comply with Rule 9(b)’s mandate to set forth with
 24                 particularity those circumstances which constitute the fraud.
 25   GlenFed, 42 F.3d at 1548 (emphases in original); see also Blake v. Dierdorff, 856
 26   F.2d 1365, 1369 (9th Cir. 1988) (plaintiffs must allege statements and “the reasons
 27   for their falsity”).
 28
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  1          ENTtech pleads predicate acts of “using the mails or wires in furtherance of a
  2   scheme to defraud.” (FAC ¶ 47.) Fraud is a necessary element of these claims too.
  3   See Schreiber Distr. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1400-01 (9th
  4   Cir. 1986) (if fraudulent acts are the basis of the alleged pattern of racketeering
  5   activity, Rule 9(b) requires plaintiff to allege with particularity). Yet one searches in
  6   vain for any factual allegations in the FAC that meet this requirement.
  7          In fact, ENTtech’s allegations in this regard are so bereft that all of them can
  8   be easily listed:
  9              “Defendants … are engaged in a scheme to deprive Plaintiff of its digital
 10                 assets through a pattern of fraudulent statements made in DMCA
 11                 Notices and directly to Plaintiff” (FAC ¶ 18.)
 12              Defendants “are using unfair, fraudulent and illegal methods to carry out
 13                 their scheme” (FAC ¶ 19.)
 14   These allegations are devoid of facts necessary to satisfy Rule 9(b). While ENTtech
 15   identifies the allegedly false statement—DMCA notices—it makes no attempt to “set
 16   forth an explanation as to why the statement … was false or misleading.” GlenFed,
 17   42 F.3d at 1548. As in GlenFed, this failure renders the FAC insufficient.
 18          In this claim, ENTtech tries to explain why the DMCA notices are false, but
 19   the allegation is circular and untenable: According to ENTtech, the DMCA notices
 20   are fraudulent because they contain a statement that the party “has a good faith belief
 21   that use of the material in the manner complained of is not authorized by the
 22   copyright owner,” when in fact, defendants “knew that this statement was false.”
 23   (FAC ¶ 51.5) This effort fails. It’s an attempt to turn an allegation about scienter—
 24   undifferentiated as to all Defendants and averred generally—into the basis for an
 25   entire fraud-based “scheme” and two fraud-based claims, which must be pleaded with
 26   particularity. The very idea turns Rule 9(b) on its head.
 27   5
       Importantly, paragraph 51 of the FAC appears only in the RICO claim; it is not
      alleged as part of the DMCA claim and therefore cannot be used to support that
 28   claim.
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  1         Despite two tries to plead them, ENTtech’s claims rely on conclusory or non-
  2   existent allegations of fraudulent conduct. They should be dismissed under Rule 9(b).
  3         B.     The RICO claims is barred on its face under Noerr-Pennington.
  4         Because the RICO claim is based on Defendants’ protected activities of
  5   petitioning for redress, it is barred under the Noerr-Pennington doctrine.
  6         The Noerr-Pennington doctrine is derived from the Petition Clause of the First
  7   Amendment, U.S. Const., amend 1; it provides that “those who petition any
  8   department of the government for redress are generally immune from statutory
  9   liability for their petitioning conduct.” Sosa v. DIRECTV, Inc., 437 F.2d 923, 929
 10   (9th Cir. 2006). Claims based on the exercise of First Amendment rights present a
 11   danger of chilling those rights; thus, under Noerr-Pennington, courts will impose
 12   heightened pleading obligations on the party asserting those claims. See Kottle v. Nw.
 13   Kidney Ctrs., 146 F.3d 1056, 1063 (9th Cir. 1998). Specifically:
 14                In its pleadings, the party [asserting claims] must explain
                   exactly why the alleged conduct is not protected by the Noerr-
 15                Pennington doctrine. If it fails to do so, even at the
                   Rule 12(b)(6) stage, the court must dismiss the claim and
 16                thereby preserve the “breathing space” afforded to First
                   Amendment guarantees.
 17

 18   Mercer Publ’g, Inc. v. Smart Cookie Ink, LLC, No. C12-0188JLR, 2012 WL
 19   12863934, at *3 (W.D. Wash. July 25, 2012) (citations omitted).
 20         There are four inquiries under Noerr-Pennington: (1) whether defendants’
 21   conduct constitutes a petitioning activity; (2) whether the proposed liability burdens
 22   that activity; (3) if so, whether a doctrinal exception applies, and (4) if no exception,
 23   whether the statute—here, RICO—must be construed to include the protected
 24   activity; if not, the court find the defendant immune from the statutory liability and
 25   the claim non-actionable. See Mercer, 2012 WL 12863934, at *3.
 26         First, there is no question but that all the conduct ENTtech complains of here—
 27   sending allegedly false DMCA notices (FAC ¶¶ 15, 18, 50-51), sending pre-litigation
 28   demands for settlements (FAC ¶¶ 16, 23, 28-31, 52), and filing a lawsuit (FAC
                                                  10
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  1   ¶¶ 53-54)—constitutes petitioning activity. Generally, each of the three activities
  2   relates to pre-suit or judicial processes designed to vindicate legal rights, and the
  3   “right to use judicial and pre-litigation procedures to resolve purported copyright
  4   disputes is protected activity” under Noerr-Pennington. Mercer, 2012 WL 12863934,
  5   at *4. Moreover, specifically, each of the three activities here has expressly been
  6   found to be “protected activity” for Noerr-Pennington purposes. See id. at *4-5
  7   (sending DMCA take-down notices is protected activity); Sosa, 437 F.3d at 934-39
  8   (sending pre-litigation settlement demand letters was protected activity); Cal. Motor
  9   Transport Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972) (“The right of access
 10   to the courts is indeed but one aspect of the right of petition.”).6
 11         Next, imposing liability under RICO would undoubtedly burden Defendants’
 12   petitioning rights here. See Sosa, 437 F.3d at 933, 938-39 (statutory liability under
 13   RICO, based on protected activity of sending pre-litigation demands, would burden
 14   the protected activity).
 15         Third, there are no allegations—much less allegations that would meet a
 16   heightened pleading standard—that would permit a conclusion that an exception to
 17   Noerr-Pennington applies. “To adequately plead the sham exception, a party must
 18   allege facts that suggest that the accused conduct is objectively baseless.”7 Mercer,
 19   2012 WL 12863934, at *4. There are no such allegations here. See id.
 20         Finally, the Ninth Circuit has already adjudicated—in Defendants’ favor—that
 21   RICO claims, and its predicate statutes of mail and wire fraud, “do not permit the
 22   maintenance of a lawsuit for the sending of a pre-litigation demand to settle legal
 23   claims that do not amount to a sham.” Sosa, 437 F.3d at 942. It is not stretch to apply
 24   the same reasoning to pre-litigation DMCA take-down notices, and litigation itself,
 25   6
        The result holds true even if the petitioning activity is ultimately unsuccessful.
 26   “[E]ven ‘unsuccessful but reasonably based suits advance some First Amendment
      interests” and are thus within the reach of Noerr-Pennington.” Mercer, 2012
 27   WL 12863934, at *4.
      7
        The only other Noerr-Pennington exception, obtaining a patent through fraud on the
 28   patent office, does not apply here.
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  1   that are likewise do not amount to a sham. Stated differently, these statutes can be
  2   construed in a way that allows for the immunity under Noerr-Pennington. E.g.,
  3   Mercer, 2012 WL 12863934, at *4 (applying Sosa when “nothing in the statutory text
  4   must be read to ‘clearly reach the conduct at issue’”).
  5         Accordingly, Defendants’ conduct is immune from RICO liability under the
  6   Noerr-Pennington doctrine.
  7         C.     The DMCA and RICO claims fail even if reviewed under Rule 8.
  8         Even if the claims satisfy Rule 9(b), they are still legally and factually
  9   insufficient for other reasons.
 10                1.     The DMCA claim fails because ENTtech fails to properly
 11                       allege the necessary elements.
 12         The language of the DMCA is clear in its requirements:
 13                Any person who knowingly materially misrepresents under this
                   section—
 14                (1) that material or activity is infringing, …
                   ***
 15                shall be liable for any damages … incurred by the alleged
                   infringer … as a result of the service provider relying upon such
 16                misrepresentation in removing or disabling access to the
                   material or activity claimed to be infringing … .
 17

 18   17 U.S.C. § 512(f) (emphasis added). Thus, to plead a valid claim for violation of
 19   DMCA § 512(f), a plaintiff must plead facts tending to show that defendant
 20   (1) knowingly, and (2) materially (3) misrepresented that copyright infringement has
 21   occurred. See Online Policy Group v. Diebold, Inc., 337 F. Supp. 2d 1195, 1204
 22   (N.D. Cal. 2004). ENTtech has failed to plead each element with facial plausibility.
 23                       a.     ENTtech has not pleaded a “misrepresentation.”
 24         An essential element of the claim is “that defendant falsely misrepresented a
 25   claim of copyright infringement.” Design Furnishings, Inc. v. Zen Path, LLC, No.
 26   Civ. 2:10-2765 WBS GGH, 2010 WL 5418893, at *4 (E.D. Cal. Dec. 23, 2010). But
 27   ENTtech makes no effort to plead any facts showing that defendants made a
 28   misrepresentation “that material or activity is infringing.” In ENTtech’s view, it is
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  1   enough to allege that Defendants had no “good faith belief” that material was
  2   infringing because Defendants allegedly did not consider fair use before sending
  3   DMCA take-down notices.8 (FAC ¶ 51.) This interpretation collapses two elements of
  4   the claim into one, thus stretching the statute to the breaking point.
  5         Under ENTtech’s theory, a party is liable under DMCA § 512(f) when it lacks
  6   a “good faith belief” that material is infringing—for example, because it did not
  7   analyze fair use—even when the material actually is infringing. But only a false
  8   statement can be a misrepresentation. See GlenFed, 6 F.3d at 1548. A true statement
  9   that “material … is infringing” cannot be a misrepresentation if the material actually
 10   infringes. So when “material … is infringing,” the statute is not violated. ENTtech’s
 11   interpretation reads an essential element right out of the statute: namely, that
 12   “material or activity is infringing.”9
 13                       b.     ENTtech has not properly pleaded “knowingly,” which
 14                              requires subjective bad faith.
 15         In this Circuit, the DMCA provision that provides for take-down notices that
 16   would be subject to a § 512(f) claim, 17 U.S.C. § 512(c)(3)(A)(v), “imposes a
 17   subjective good faith requirement upon copyright owners.” Rossi v. Motion Pictures
 18   Ass’n of Am. Inc., 391 F.3d 1000, 1004 (9th Cir. 2004). As such, the “knowingly”
 19   element of § 512(f) is measured from a subjective standard. See id. at 1004-05.
 20   8
        The omission is telling. If ENTtech believed its conduct was noninfringing, if it had
 21   any facts at all to support such an assertion, it surely would have highlighted those
      facts. Such allegations are not optional, though. They are required by the statute, and
 22   without them there is no liability. The claim fails without factual allegations showing
      a misrepresentation “that material or activity is infringing.” ENTtech has none. The
 23   Photo Agencies have filed a separate lawsuit for copyright infringement of the
      images. See BackGrid et al. v. ENTtech Media Group, LLC, 2:20-cv-06803-RSWL.
 24   9
        There are some cases stating that a party “faces liability if it knowingly
      misrepresented in the takedown notification that it had formed a good faith belief the
 25   video was not authorized by the law, i.e., did not constitute fair use.” Lenz v.
      Universal Music Corp., 815 F.3d 1145, 1154 (9th Cir. 2015). But Lenz and the cases
 26   like it do not suffer from the problem ENTtech has here: in each of those cases, the
      party also alleged that the material was noninfringing. Defendants are aware of no
 27   case that allows a DMCA § 512(f) claim to proceed based solely on an allegation that
      “good faith belief” was misrepresented without an additional allegation of
 28   noninfringement.
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  1            But ENTtech has failed to allege any facts supporting the notion that Okularity
  2   or the Photo Agencies had bad faith in issuing the take-down notices. The crux of
  3   ENTtech’s DMCA claim is that fair use was allegedly not considered before sending
  4   the notices.10 Critically, though, ENTtech does not (and cannot) allege that the
  5   copyrighted images it posted constituted fair use or otherwise were permitted by law.
  6   So even accepting as true ENTtech’s baseless allegation that Okularity failed to
  7   consider fair use, ENTtech cannot assert DMCA misrepresentation when that alleged
  8   failure is immaterial to them. Unless Okularity’s alleged failure to consider fair use is
  9   meaningful and relevant to the material that was taken down, the DMCA § 512(f)
 10   claim does nothing more than seek a judicial ruling on a hypothetical.
 11            Certainly the “knowingly” element has not been pleaded against the Photo
 12   Agencies. The FAC alleges: “Nor is it clear that Okularity has any right to send
 13   DMCA notices on behalf of Backgrid, Splash, or Xposure.” (FAC ¶ 41.) Accepting
 14   that as true, then the Photo Agencies could not have engaged in any conduct with
 15   subjective bad faith. This admission independently demonstrates that subjective bad
 16   faith has not been pleaded against the Photo Agencies.
 17                         c.    ENTtech cannot properly plead “materially.”
 18            ENTtech makes no effort to plead any facts showing that Defendants
 19   “materially” misrepresented anything. The reason is clear: without an allegation that
 20   ENTtech’s Instagram posts constitute fair use or were authorized by law, any alleged
 21   misrepresentation about Okularity’s “good faith belief” on that issue would have no
 22   effect. In short, ENTtech’s Instagram posts were removed because they actually are
 23   infringing, not because Okularity supposedly misrepresented its belief that they were
 24   infringing.
 25            ENTtech attempts to manufacture a claim based solely on defendants’ alleged
 26   lack of “good faith belief”—just the “knowingly” element of DMCA § 512(f). That’s
 27   not enough. The DMCA claim should be dismissed.
 28   10
           This contention will be subject to a Rule 11 motion.
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  1                      d.     ENTtech has not even pleaded the DMCA take-down
  2                             notices sufficiently to satisfy Rule 8.
  3         ENTtech’s allegations regarding the DMCA take-down notices themselves are
  4   devoid of sufficient facts to satisfy the Iqbal/Twombly standards. At the very least,
  5   ENTtech should be required to identify the works they believe are at issue and which
  6   Photo Agency it contends was behind the issuing of the notice. It is possible that
  7   ENTtech posted works owned by someone other than the Photo Agencies that were
  8   subject to a DMCA take-down notice that the Photo Agencies and Okularity have no
  9   knowledge about, yet were counted towards ENTtech’s repeat infringer status by
 10   Instagram. Such information is a threshold issue that should be pleaded.
 11         Accordingly, the DMCA claim should be dismissed.
 12                2.    The RICO claim fails as a matter of law.
 13         Like many plaintiffs, ENTtech misuses a RICO claim—the “thermonuclear
 14   device” of civil litigation, Goldfine v. Sichenzia, 118 F. Supp. 2d 392, 394 (S.D.N.Y.
 15   2000)—to try to create an offense with a threat of treble damages. Midwest Grinding
 16   Co. v. Spitz, 976 F.2d 1016, 1025 (7th Cir. 1992) (“civil RICO plaintiffs persist in
 17   trying to fit a square peg in a round hole by squeezing garden-variety business
 18   disputes into civil RICO actions”). The widespread abuse of RICO stems from a
 19   generous compensation scheme coupled with the fact that modern business uses mail
 20   and wires, thus providing a jurisdictional hook. See id.; Suris Gen. Contr. Corp. v.
 21   New Metro. Fed. Sav. & Loan Ass’n, 873 F.2d 1401, 1404 (11th Cir. 1989) (RICO
 22   was not intended to give plaintiffs the opportunity to “boot-strap” garden-variety
 23   business claims “into a ‘federal case’” by couching allegations in RICO language).
 24         Moreover, just as courts impose heightened pleading requirements to protect
 25   against the irreparable damage to reputation and goodwill that results from charges of
 26   fraud, so too must courts safeguard against lightly made claims labeling one a
 27   “racketeer.” Plount v. Am. Home Assur. Co., 668 F. Supp. 204, 206 (S.D.N.Y. 1987).
 28   This “solicitude for defendants’ good names” has led courts to require that RICO
                                                 15
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  1   elements be pleaded with specificity: “It would make little sense to require that the
  2   elements of fraudulent predicate acts be pled with particularity” to protect reputation,
  3   “while allowing the overarching civil RICO claim—with its far greater capacity for
  4   reputational damage—to be alleged generally.” Id. at 207.
  5         Here, ENTtech’s RICO claim suffers from its attempt to fit the square peg in a
  6   round hole. To plead a RICO claim, ENTtech must allege: (1) conduct (2) of an
  7   enterprise (3) through a pattern (4) of racketeering activity (5) that injured its
  8   business or property. See Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985).
  9   On top of the deficiencies described above, and even without regard to heightened
 10   pleading standards, ENTtech has not satisfied the requirements necessary to plead the
 11   elements of racketeering activity, pattern, and enterprise.
 12                       a.     Predicate acts are factually and legally insufficient.
 13         ENTtech’s predicate acts of racketeering activity fall into three categories:
 14   (1) mail fraud, (2) wire fraud, and (3) extortion, all based on the sending of DMCA
 15   take-down notices, pre-litigation demands, and the filing of a complaint by the Photo
 16   Agencies. These predicate acts cannot support the RICO claim here.
 17         Mail fraud: “The mail fraud statute is implicated only where mail is ‘sent or
 18   delivered by the Postal Service [or] ... any private or commercial interstate carrier.’”
 19   Humphreys v. City of Coolidge, No. CV-17-04045-PHX-DWL, 2019 WL 316240, at
 20   *5 (D. Ariz. Jan. 24, 2019) (quoting 18 U.S.C. § 1341). ENTtech has not pleaded use
 21   of the mail, only the use of automated systems and email. This is not enough. See id.
 22         Wire fraud: To state a claim for mail and wire fraud, the plaintiff must show:
 23   (1) the formation of a scheme to defraud; (2) the use of the mails or wires in
 24   furtherance of that scheme; and (3) the specific intent to defraud. See Eclectic Props.
 25   E. v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014). But significantly,
 26   as this Court decided in Blue Oak Medical Group, to plead that a scheme exists to
 27   defraud “parties must plead facts which tend to exclude ‘plausible or innocuous
 28   alternative explanation[s]’ for any fraudulent intent.” 2018 WL 6219892 at *4. The
                                                  16
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  1   much more plausible explanation that has not been excluded is that ENTtech is a
  2   repeat infringer of photographs belonging to the Photo Agencies, those Agencies sent
  3   DMCA notices to vindicate their important intellectual property rights, and Instagram
  4   terminated ENTtech’s account under Instagram’s repeat-infringer policy. ENTtech
  5   has made no effort to plead that Defendants had a specific intent to defraud, or that
  6   there was a scheme to defraud, and that the wires were used in furtherance of the
  7   same. As such, the wire fraud predicate act has not been properly alleged.
  8         Extortion: The Hobbs Act prohibits attempts “in any way or degree [to]
  9   obstruct[], delay[], or affect[] commerce ... by ... extortion ....” 18 U.S.C. § 1951(a).
 10   “The term ‘extortion’ means the obtaining of property from another, with his consent,
 11   induced by wrongful use of actual or threatened ... fear ....” 18 U.S.C. § 1951(b)(2).
 12   “Fear,” in this context, “can include fear of economic loss.” United Bhd. of
 13   Carpenters & Joiners of Am. v. Bldg. & Constr. Trades Dep’t, 770 F.3d 834, 838 (9th
 14   Cir. 2014) (“UBC”). But the Hobbs Act does not impose “liability for threats of
 15   [baseless] litigation where the asserted claims do not rise to the level of a sham.”
 16   Sosa, 437 F.3d at 939-40.
 17         “[T]he fear of economic loss is a driving force of our economy that plays an
 18   important role in many legitimate business transactions.” Brokerage Concepts, Inc. v.
 19   U.S. Healthcare, Inc., 140 F.3d 494, 523 (3d Cir. 1998). But while there is a
 20   difference “between legitimate use of economic fear—hard bargaining—and
 21   wrongful use of such fear—extortion,” UBC, 770 F.3d at 838, the Supreme Court has
 22   held that economic fear becomes extortion only “where the obtaining of the property
 23   would itself be ‘wrongful’ because the alleged extortionist has no lawful claim to that
 24   property.” United States v. Enmons, 410 U.S. 396, 400 (1973).
 25         That is not the case here, where the Photo Agencies have legitimate legal
 26   claims under the Copyright Act based on the unauthorized use of their images.
 27   Accordingly, any use of economic pressure by Defendants was not “wrongful,” and
 28   therefore there is no extortion to support a RICO claim. See UBC, 770 F.3d at 841
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  1   (dismissing RICO claim based on economic pressure from legitimate legal claims).
  2   Holding otherwise would seriously implicate First Amendment principles: if seeking
  3   redress for legal wrongs could be a RICO predicate act, RICO itself would probably
  4   be unconstitutional.
  5         Not surprisingly, the weight of authority therefore holds that the filing of a
  6   legal claim does not implicate the “fear” provision of an extortion cause of action.
  7   See, e.g., I.S. Joseph Co., Inc. v. J. Lauritzen A/S, 751 F.2d 265, 267 (8th Cir. 1984)
  8   (rejecting argument that the threat of legal action, for the purpose of frightening the
  9   plaintiff into making payments, amount to the infliction of “fear” within the meaning
 10   of the Hobbs Act). The result holds even if the legal claims asserted had no basis:
 11                We can not agree that the threat alleged here constituted the
                   infliction of “fear” for purposes of the extortion statute. We
 12                assume for purposes of argument ... that the threat to sue was
                   groundless and made in bad faith. Such conduct may be tortious
 13                under state law, but we decline to expand the federal extortion
                   statute to make it a crime.
 14

 15   Id. (concluding that threats to sue did “not qualify as acts of racketeering bringing
 16   RICO into play”). Concluding that threats to file a civil action constitute a “pattern of
 17   racketeering activity” would cause citizens to “feel that their right of access to the
 18   courts of this country had been severely chilled.” Id. RICO cannot extend that far.
 19         Moreover “allegations of improper legal filings … are best addressed through
 20   state law tort remedies rather than resort to criminal statutes and RICO claims.”
 21   Grauberger v. St. Francis Hosp., 169 F. Supp. 2d 1172, 1178 (N.D. Cal. 2001); see
 22   also Peterson v. Phil. Stock Exch., 717 F. Supp. 332, 336 (E.D. Pa. 1989) (“The
 23   ordinary resort to legal process does not rise to the level of a ‘wrongful use’ of force
 24   or fear.”) (citation omitted); Harris Custom Builders, Inc. v. Hoffmeyer, 1994 WL
 25   329962, at *4 (N.D. Ill. 1994) (alleged scheme of filing lawsuits to enforce an
 26   allegedly illegally obtained copyright does not constitute a predicate act of
 27   racketeering for purposes of RICO) (citing cases). Where the alleged “threat”
 28   concerns the use of DMCA notices and Instagram rules to leverage payment for
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  1   legitimate legal claims, even if those notices are allegedly improper (and they are
  2   not), then they cannot support a claim for extortion.
  3         ENTtech has no legally viable RICO claim based on these allegations. The
  4   claims should be dismissed.
  5                       b.    ENTtech does not and cannot plead a “pattern.”
  6         ENTtech fails to adequately plead a pattern of racketeering activity. To plead a
  7   “pattern,” ENTtech must show either “a series of related predicates extending over a
  8   substantial period of time” or “past conduct that by its nature projects into the future
  9   with a threat of repetition.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 241-42
 10   (1989). “Predicate acts extending over a few weeks or months and threatening no
 11   future criminal conduct do not satisfy this requirement: Congress was concerned in
 12   RICO with long-term criminal conduct.” Id. at 242.
 13         The allegations of a pattern of racketeering activity fall woefully short of these
 14   requirements. Assuming that sending “fraudulent” DMCA take-down notices can be
 15   a predicate act of an alleged RICO claim, ENTtech does not plead “long-term”
 16   conduct. Rather, ENTtech alleges that “Okularity sent fraudulent DMCA notices to
 17   Instagram … over fourteen times from June 4-5, 2020.” (FAC ¶¶ 50.) A two-day
 18   period is not “extending over a substantial period of time.” Even crediting ENTtech’s
 19   allegation that there were 48 DMCA take-down notices “in 2019 and 2020” (FAC
 20   ¶ 37), there is still no closed-ended continuity under RICO.11 See Turner v. Cook, 362
 21   F.3d 1219, 1230-31 (9th Cir. 2004) (no closed-ended continuity when 94 fraudulent
 22   communications happened in a two-month span, and an additional three occurred
 23   sporadically in the preceding year); Religious Tech. Center v. Wollersheim, 971 F.2d
 24   364, 366-67 (9th Cir. 1992) (“[w]e have found no case in which a court has held the
 25

 26
      11
         ENTtech also alleges, “on information and belief,” that the scheme has been
 27   ongoing since 2018. (FAC ¶ 56.) This is inconsistent with its other allegations and
      also is the type of rote recitation of elements, without factual support, that the Court
 28   is not required to credit on a motion to dismiss.
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  1   requirement to be satisfied by a pattern of activity lasting less than a year”).12
  2         The allegations are insufficient to make out a “pattern” of racketeering and the
  3   RICO claim should be dismissed.
  4                       c.     RICO enterprise has not been sufficiently pleaded.
  5         ENTtech’s construction of a RICO enterprise is cursory and conclusory. If a
  6   plaintiff alleges an association-in-fact enterprise, as attempted here, it must state:
  7                facts indicating the existence of an ongoing organization,
                   formal or informal, that functions as a continuing unit over time
  8                through a hierarchical or consensual decision-making structure.
                   To satisfy the “continuing unit” requirement, the plaintiff must
  9                plead specific facts establishing that the association exists for
                   purposes other than simply to commit the predicate acts.
 10

 11   Cadle Co. v. Schultz, 779 F. Supp. 392, 397 (N.D. Tex. 1991) (internal quotation
 12   marks and footnotes omitted); see also Lujan v. Mansmann, 956 F. Supp. 1218, 1231
 13   (E.D. Pa. 1997) (properly pleaded enterprise requires (1) names of people or entities
 14   comprising it; (2) its structure, purpose, function, course of conduct; (3) information
 15   on whether defendants are employed by it; (4) statement on whether defendants are
 16   associated with it; and (5) statement on whether defendants are separate from,
 17   members of, or are the enterprise). Courts have not hesitated to dismiss RICO claims
 18   for failure to clearly identify the RICO enterprise. E.g., Richmond v. Nationwide
 19   Cassel L.P., 52 F.3d 640, 645-46 (7th Cir. 1995); First Nationwide Bank v. Gelt
 20   Funding Corp., 820 F. Supp. 89, 98 (S.D.N.Y. 1993) (dismissing RICO claim when
 21   plaintiff did not plead “any facts regarding the continuity of structure or personnel” of
 22   the enterprise).
 23         In Blue Oak Medical Group, this Court decided that the plaintiff had not
 24   adequately alleged enterprise with sufficient factual detail (especially in light of the
 25   Rule 9 pleading standard). See 2018 WL 6219892, at *3-4. There, this Court stated
 26   that “it [was] unclear from the Complaint how the Defendants work together to
 27
      12
        ENTtech cannot allege open-ended continuity either. Its Instagram account is
 28   suspended, so there is no ongoing threat of repetition.
                                                  20
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  1   achieve their common purpose of putting Blue Oak out of business,” and that Blue
  2   Oak has not pleaded with particularity a “scheme to defraud,” even though plaintiff
  3   had alleged:
  4                   [T]he common purpose of the enterprise is to (1) financially
                      harm and ultimately put out of business patient oriented
  5                   medical providers; (2) induce Plaintiff to dispense medicine to
                      injured workers covered by [State Fund], at Plaintiff’s expense;
  6                   (3) avoid paying Plaintiff for medicine dispensed by Blue Oak;
                      and (4) retain money owed to Blue Oak. The enterprise carries
  7                   out this common purpose by authorizing RFA’s [sic] for the
                      provision of medications and promising to pay for them, by
  8                   inducing Blue Oak to dispense the medications to patients, and
                      then consistently delaying payment and ultimately never paying
  9                   at all [and that e]ach Defendant coordinated with one another to
                      implement and conceal the enterprise.
 10

 11   Blue Oak Med. Group, 2018 WL 6219892, at *4 (internal quotation marks and
 12   citations omitted) (second and third alteration in original).
 13         These allegations in Blue Oak provide more detail that what is alleged here, as
 14   the FAC makes no effort to explain how the Defendants engaged in an enterprise
 15   with respect the relationships among one another. Indeed, the allegations do not even
 16   break down the actions or omission of each Defendant, but instead lumps them
 17   together (the “Clearinghouse Defendants” and “Okularity”). These allegations are
 18   insufficient.
 19         C.        ENTtech should not be granted leave to amend.
 20         ENTtech should not be granted leave to amend.
 21         “In determining whether dismissal without leave to amend is appropriate,
 22   courts consider such factors as undue delay, bad faith or dilatory motive on the part
 23   of the movant, repeated failure to cure deficiencies by amendments previously
 24   allowed, undue prejudice …, and futility of the amendment.” CyWee Group Ltd. v.
 25   HTC Corp., 312 F. Supp. 3d 974, 981 (W.D. Wa. 2018) (citing Foman v. Davis, 371
 26   U.S. 178, 182 (1962)) (emphasis added). The discretion to deny leave to amend “is
 27   particularly broad where the plaintiff has previously amended the complaint.”
 28   Ecological Rights Found. v. Pac. Gas & Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013)
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  1   (internal quotation marks omitted). And futility is determined by a situation where,
  2   even with new facts and allegations, there is not a legal theory that would give relief
  3   to plaintiff. See Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (en banc)
  4   (denying leave to amend appropriate when “pleading could not possibly be cured by
  5   the allegation of other facts”) (internal quotation marks omitted).
  6         ENTtech has already amended its complaint once and did so with full
  7   knowledge of its deficiencies. Having chosen not to cure the deficiencies once,
  8   ENTtech should not be granted leave to try again. Moreover, the FAC suffers from
  9   being legally untenable in multiple ways, such that leave to amend would be futile.
 10   Namely, ENTtech cannot plead a valid RICO claim under Noerr-Pennington, so
 11   leave to amend should be denied. Similarly, ENTtech cannot plead a valid DMCA
 12   claim because it cannot allege that any of its uses of images owned by the Photo
 13   Agencies are noninfringing. Leave to amend should be denied as to that claim too.
 14   V.    CONCLUSION
 15         The Court should dismiss without leave to amend.
 16   Dated: August 24, 2020         Respectfully submitted,
 17                                  PERKOWSKI LEGAL, PC
 18                                  By:    /s/ Peter Perkowski
 19                                        Peter E. Perkowski
 20                                        Attorneys for Defendants
                                           Okularity, Inc. and Jon Nicolini
 21

 22
      Dated: August 24, 2020         ONE LLP
 23
                                     By:     /s/ Joanna Ardalan
 24                                        David Quinto
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 25                                        Joanna Ardalan
 26                                        Attorneys for Defendants BackGrid USA, Inc.,
                                           Splash News and Picture Agency, LLC, and
 27                                        Xposure Photo Agency, Inc.
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